                             UNITED STATES BANKRUPTCY COURT
                              EASTERN DISTRICT OF MICHIGAN

In the Matter of:
BENTIVOLIO, KERRY L                                            Case No. 15-42543
                                                               Chapter 7
                                                               Honorable THOMAS J. TUCKER

                      Debtor(s)                        /

                                   CERTIFICATE OF DISTRIBUTION

        Now comes STUART A. GOLD, trustee of the above-named estate, and hereby states the

following:

1.      That the trustee has fully administered this estate by either liquidating or abandoning all property

of the estate.

2.      That the trustee has collected $33,500.00, and disbursed $23,084.84, leaving a balance on hand

of $10,415.16, which funds are lodged in an account in Rabobank, N.A.;

3.      That, of the funds on hand, the following distribution should be made:

Chapter 7 Admin. Expenses
                                                                       Amount                        Amount
                                                                       Allowed        % Paid       to be Paid
STUART A. GOLD               Trustee Compensation                      4,100.00       100.00        4,100.00
 Allowed P/O 08/16/17
STUART A. GOLD               Trustee Expenses                              50.00      100.00            50.00
 Allowed P/O 08/16/17
U.S. BANKRUPTCY              Clerk of the Court Costs                    350.00       100.00           350.00
COURT                        (includes adversary and other
                             filing fees)
                                                   Subtotals: $        4,500.00                $     4,500.00




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Unsecured Claims - Timely
                                                                       Amount                         Amount
Claim #   Name                                                         Allowed        % Paid        to be Paid
1         SHIFMAN & CARLSON                                            6,165.08         8.81           201.94
2         DICKINSON WRIGHT PLLC                                       43,410.86         8.81         1,422.02
5         SOMMERS SCHWARTZ, P.C.                                     120,000.00         8.81         3,930.87
6         (WRIGHT PATMAN) CONGRESSIONAL                               11,000.00         8.81           360.33
          FEDERAL CREDIT UNION

                                                    Subtotals: $     180,575.94                $     5,915.16

                                                   Total Paid:                                 $    10,415.16


         The undersigned trustee certifies under penalty of perjury that the foregoing is true and correct to
the best of his knowledge.


Date: August 16, 2017                             /s/ STUART A. GOLD
                                                  STUART A. GOLD, Trustee
                                                  24901 NORTHWESTERN HWY
                                                  SUITE 444
                                                  SOUTHFIELD, MI 48075
                                                  (248) 350-8220
                                                  trusteegold@glmpc.com




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